               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                            NASHVILLE DIVISION


UNITED STATES OF AMERICA                         )
                                                 )
                                                 )
v.                                               )      Criminal No. 3:14-cr-00104-5
                                                 )      Judge Trauger
CHRISTOPHER LAMONT CANNON                        )
                                                 )

                                        ORDER

      It is hereby ORDERED that the sentencing set for December 18, 2015 is RESET for

Wednesday, December 16, 2015 at 3:00 p.m.

      It is so ORDERED.

      Enter this 8th day of December 2015.



                                                 ___________________________________
                                                 ALETA A. TRAUGER
                                                 United States District Judge




 Case 3:14-cr-00104      Document 391        Filed 12/08/15   Page 1 of 1 PageID #: 980
